AO 245D (WDNC Rev. 4/04) Judgment in a Criminal Case for Revocation


                                    UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                   JUDGMENT IN A CRIMINAL CASE
                                                                           (For Revocation of Probation or Supervised Release)
         V.                                                                (For Offenses Committed On or After November 1, 1987)


EDDIE LAMONT W ILSON                                                       Case Num ber: 5:94CR36-2-V
                                                                           USM Num ber: 11805-058

                                                                           Angela Parrott
                                                                           Defendant’s Attorney

THE DEFENDANT:

X        adm itted guilt to violation of condition(s) 1, 2, 3, 4, 5, 6, 7 & 8 of the term of supervision.
         W as found in violation of condition(s) count(s)            After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):


                                                                                                  Date Violation
 Violation Num ber               Nature of Violation                                              Concluded

 1                               New law violation                                                2/18/07

 2                               New law violation                                                2/18/07

 3                               New law violation                                                2/23/07

 4                               New law violation                                                2/23/07

 5                               New law violation                                                3/20/06

 6                               New law violation                                                9/28/06

 7                               Failure to m ake required court paym ents                        2/16/07

 8                               Failure to report contact with law enforcem ent officer          9/19/05, 7/12/06,
                                                                                                  7/27/06 & 12/18/06
       The Defendant is sentenced as provided in pages 2 through 3 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

         The Defendant has not violated condition(s)                  And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                              Signed: May 23, 2007

                                                                           Date of Im position of Sentence: May 14, 2007




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Defendant: EDDIE LAMONT W ILSON                                                                       Judgm ent-Page 2 of 3
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                                                           IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of EIGHTEEN (18) MONTHS.




 X       The Court m akes the following recom m endations to the Bureau of Prisons:

         That defendant receive anger m anagem ent and treatm ent and psychological counseling while incarcerated.

 X       The Defendant is rem anded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                           As notified by the United States Marshal.

                            At___a.m . / p.m . on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                           As notified by the United States Marshal.

                            Before 2 p.m . on ___.

                           As notified by the Probation Office.

                                                               RETURN

         I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                       ___________________________________________
                                                       United States Marshal


                                              By:      _______________________________________
                                                       Deputy Marshal




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Defendant: EDDIE LAMONT W ILSON                                                                                               Judgm ent-Page 3 of 3
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                                                            SUPERVISED RELEASE

        Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3) YEARS
the sam e conditions of supervised release will apply.

         The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant
         poses a low risk of future substance abuse.

                                              STANDARD CONDITIONS OF SUPERVISION

         The defendant shall comply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.       The defendant shall not commit another federal, state, or local crime.
2.       The defendant shall refrain from possessing a firearm, destructive device, or other dangerous weapon.
3.       The defendant shall pay any financial obligation imposed by this judgment remaining unpaid as of the commencement of the sentence of
         probation or the term of supervised release on a schedule to be established by the court.
4.       The defendant shall provide access to any personal or business financial information as requested by the probation officer.
5.       The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       The defendant shall not leave the Western District of North Carolina without the permission of the Court or probation officer.
7.       The defendant shall report in person to the probation officer as directed by the Court or probation officer and shall submit a truthful and
         complete written report within the first five days of each month.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72 hours
         of release from custody of the Bureau of Prisons.
 9.      The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      The defendant shall support his or her dependents and meet other family responsibilities.
11.      The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities
         authorized by the probation officer.
12.      The defendant shall notify the probation officer within 72 hours of any change in residence or employment.
13.      The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or administer any
         narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed physician.
14.      The defendant shall participate in a program of testing and treatment or both for substance abuse if directed to do so by the probation officer,
         until such time as the defendant is released from the program by the probation officer; provided, however, that defendant shall submit to a
         drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use of any controlled
         substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively.
15.      The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.
16.      The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony
         unless granted permission to do so by the probation officer.
17.      The defendant shall submit his person, residence, office or vehicle to a search, from time to time, conducted by any U.S. Probation Officer
         and such other law enforcement personnel as the probation officer may deem advisable, without a warrant; and failure to submit to such a
         search may be grounds for revocation of probation or supervised release. The defendant shall warn other residents or occupants that such
         premises or vehicle may be subject to searches pursuant to this condition.
18.      The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed by the probation officer.
19.      The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcement officer.
20.      The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the Court.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal record
         or personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
22.      If the instant offense was committed on or after 4/24/96, the defendant shall notify the probation officer of any material changes in
         defendant’s economic circumstances which may affect the defendant’s ability to pay any monetary penalty.
23.      If home confinement (home detention, home incarceration or curfew) is included you may be required to pay all or part of the cost of the
         electronic monitoring or other location verification system program based upon your ability to pay as determined by the probation officer.
24.      The defendant shall cooperate in the collection of DNA as directed by the probation officer.

ADDITIONAL CONDITIONS:




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